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 3 (916) 569-0667
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 4 Attorneys for
   TATYANA SHVETS
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8 UNITED STATES OF AMERICA,             )                 No. 2:12-cr-00322 MCE
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION TO CONTINUE STATUS
10                                       )                 CONFERENCE AND EXCLUDE TIME
           v.                            )                 UNDER SPEEDY TRIAL ACT
11                                       )
     TATYANA SHVETS, et al.,             )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Alexsandr
15 Lastovskiy, Tatyana Shvets, Aleksandr Mikhaylov, and Hovik Mkrtchian by and through their
16 defense counsel, and the United States of America by and through its counsel, Assistant U.S.
17 Attorney Todd Leras, that the status conference presently set for July 25, 2013 at 9:30 a.m., should
18 be continued to September 26, 2013 at 9:30 a.m., and that time under the Speedy Trial Act should
19 be excluded from July 25, 2013 through September 26, 2013. The reason for the continuance is that
20 the case is a fraud case that involves bank fraud and false tax returns and is, therefore, complex.
21 There are 1,000 pages of discovery and the government has informed the defense that more discovery
22 will be coming shortly. The defense needs additional time to review the discovery and to investigate
23 the cases. Additionally, the parties are attempting to resolve the case without a trial. Accordingly, the
24 time between July 25, 2013 and September 26, 2013 should be excluded from the Speedy Trial
25 calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4
26 for defense preparation. The parties stipulate that the ends of justice served by granting this
27 continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
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29                                                     1
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 1 §3161(h)(7)(A). The defense counsel set forth below and the prosecutor have authorized Bruce
 2 Locke to sign this pleading for them.
 3
 4 DATED: July 22, 2013                            /S/ Bruce Locke
                                             BRUCE LOCKE
 5                                           Attorney for Tatyana Shvets
 6 DATED: July 22, 2013                            /S/ Bruce Locke
                                             MICHAEL CHASTAIN
 7                                           Attorney for Alexsandr Lastovskiy
 8
     DATED: July 22, 2013                          /S/ Bruce Locke
 9                                           SCOTT TEDMON
                                             Attorney for Aleksandr Mikhaylov
10
11 DATED: July 22, 2013                            /S/ Bruce Locke
                                             RICHARD NAHIGIAN
12                                           Attorney for Hovik Mkkrtchian
13
     DATED: July 22, 2013                       /S/ Bruce Locke
14                                           For TODD LERAS
                                             Attorney for the United States
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 1
 2                                               ORDER
 3         Pursuant to the parties’ stipulation and good cause appearing, the status conference presently
 4 set for July 25, 2013, is hereby continued to September 26, 2013 at 9 a.m., and time under the
 5 Speedy Trial Act will be excluded from July 25, 2013 through September 26, 2013 pursuant to Title
 6 18, United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based
 7 on the representations of the parties in their stipulation. The Court finds that the ends of justice
 8 served by granting this continuance outweigh the best interests of the public and the defendant in a
 9 speedy trial.
10         IT IS SO ORDERED.
11   Date: July 23, 2013
12   _____________________________________
13                                          ___________________________________________
                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
14
                                            UNITED STATES DISTRICT COURT
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